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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


                                           ) The Honorable Liam O’Grady
  VIRGINIA INNOVATION SCIENCES, INC.,      )
                                           )
                      Plaintiff,           ) Case No. 1:16-CV-00861(LO-MSN)
                                           )
                 v.                        )
                                           )
  AMAZON.COM, INC.,                        )
                                           )
                      Defendant.           )
                                           )


       REPLY BRIEF OF DEFENDANT AMAZON.COM, INC. IN SUPPORT OF ITS
        MOTION FOR REASONABLE ATTORNEY FEES UNDER 35 U.S.C. § 285



   Of counsel:

   J. David Hadden*                       Robert A. Angle (VSB No. 37691)
   dhadden@fenwick.com                      robert.angle@troutmansanders.com
   Saina Shamilov*                        Laura Anne Kuykendall (VSB No. 82318)
   sshamilov@fenwick.com                    la.kuykendall@troutmansanders.com
   Todd Gregorian*
   tgregorian@fenwick.com                 TROUTMAN SANDERS LLP
   Jeffrey Ware*                          1001 Haxall Point
   jware@fenwick.com                      Richmond, Virginia 23219
   Ravi Ranganath*                        Telephone:     (804) 697-1246
   rranganath@fenwick.com                 Facsimile:    (804) 697-1339
   Dargaye Churnet*
   dargayec@fenwick.com
   Jessica Kaempf*                        Mary Catherine Zinsner (VSB No. 31397)
   jkaempf@fenwick.com                      mary.zinsner@troutmansanders.com
   Sapna Mehta*
   sapnam@fenwick.com                     TROUTMAN SANDERS LLP
   FENWICK & WEST LLP                     1850 Towers Crescent Plaza, Suite 500
   Silicon Valley Center                  Tysons Corner, Virginia 22182
   801 California Street                  Telephone:    (703) 734-4363
   Mountain View, CA 94041                Facsimile:    (703) 734-4340
   Telephone: (650) 988-8500
   Facsimile: (650) 938-5200

   *Admitted Pro Hac Vice
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  I.     INTRODUCTION

         VIS argues that the Court should not award fees because its litigation was not “frivolous”

  and its allegations were not “objectively baseless.” That is not the legal standard for awarding fees

  in a patent case; instead, “an ‘exceptional’ case is simply one that stands out from others with

  respect to the substantive strength of a party’s litigating position (considering both the governing

  law and the facts of the case) or the unreasonable manner in which the case was litigated.” Octane

  Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014).

         Moreover, VIS’s claims were baseless. VIS accused more than a dozen different Amazon

  products and services of infringing 11 patents across its “diverse patent portfolio,” and lost on

  every claim. The Court invalidated nine of VIS’s patents – eight on a motion to dismiss – because

  they failed to describe a means for accomplishing the bare aspirations they claimed. The Court

  held the remaining patents not infringed or invalid at summary judgment after rejecting VIS’s

  proposed claim constructions as contrary to the “overwhelming thrust” of the patents and criticiz-

  ing VIS’s “aggressive litigation position.” While VIS concocted some claims—out of the scores

  it brought originally—that the Court did not dismiss on the pleadings, that does not make VIS’s

  litigation behavior reasonable. As described in opening, VIS simply threw a bunch of spaghetti

  against the wall, and nothing stuck.

         In its opposition, VIS also pretends to be something it’s not. VIS is not and never was an

  “innovator.” Its sole owner and employee, Tiehong Wang (a.k.a. “Ann Wang” and “Anne Wong”)

  operates the company                   , and VIS’s only business is

                                            . Far from innovating in “signal conversion” or “smart

  home technology,” Ms. Wang previously testified

                                                                                       . She changed
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  her story for her deposition in this case,

                           . VIS also exaggerates the outcome of its past cases. It brags about its

  previous “successful” assertion of the ’398 patent against Samsung. But the court granted sum-

  mary judgment in favor of Samsung, finding all asserted ’398 patent claims invalid or non-in-

  fringed, and VIS cancelled several ’398 patent claims after the Patent Office instituted inter partes

  review.

            VIS also advanced unreasonable positions throughout the litigation. VIS did not act in

  “good faith” when it asserted several patents that were facially invalid after Alice Corp. Pty. Ltd.

  v. CLS Bank International, 573 U.S. 208 (2014); advanced constructions for the ’844 patent that

  read limitations out of the claims and contradicted the basic purpose of the invention; disregarded

  the Court’s claim constructions for the ’398 patent to maintain its infringement case against Ama-

  zon Fire TV products; and continued to litigate the ’140 patent after the Court’s orders made it

  clear that the patent claimed ineligible subject matter.

            VIS further mischaracterizes the lawsuits it has filed against Amazon since this litigation.

  VIS argues that these cases are different because the asserted patents focus on “smart home tech-

  nology.” In fact, the patents in the new cases are continuations or continuation-in-parts of the

  patents asserted in this case, and VIS asserts them against several of the same Amazon products.

  Moreover, VIS cannot credibly argue that it removed “Virginia” from its name and moved to

  Texas—after Amazon moved to transfer VIS’s new Texas case back to this Court—solely for pur-

  pose of “favorable tax treatments in that state.” VIS brazenly offers this “tax” pretext without any

  contemporaneous supporting evidence, only Ms. Wang’s say-so after the fact. A fee award here

  will properly incentivize VIS to focus on meritorious patent disputes rather than its ability to abuse

  the federal court system and impose burden and expense on its opponents.




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         Finally, VIS did not challenge the reasonableness of Amazon’s attorney rates and hours

  spent defending against VIS’s claims. As a result, the Court should award Amazon its full fees.

  See Dollar Tree Stores, Inc. v. Norcor Bolingbrook Assoc., LLC, 699 F. Supp. 2d 766, 768, 772

  (E.D. Va. 2009) (accepting attorney rates and hours billed as reasonable where movant submitted

  supporting declarations and respondent did not challenge them).

  II.    VIS BASED ITS ’844 PATENT INFRINGEMENT POSITIONS ON
         UNREASONABLE CLAIM CONSTRUCTIONS

         As explained in Amazon’s opening brief, the ’844 patent requires a signal from the accused

  product to be an “item status signal” (i.e., a signal conveying the status of the merchandise associ-

  ated with the button) that “provide[s] information regarding an updated condition of a merchan-

  dise.” (Mot. at 9.) Under the clear language of the claims, VIS had no plausible basis to assert

  that the Dash Button signal, consisting of a unique identifier of the Dash Button itself, conveyed

  the status of associated merchandise or an updated condition of that merchandise.

         According to VIS, its infringement positions were reasonable because an “updated condi-

  tion is simply a condition of a merchandise at a more recent time, regardless of whether that con-

  dition has changed.” (Opp. at 23 (emphasis added).) But the Federal Circuit rejected VIS’s posi-

  tion as unreasonable and contrary to common sense. It noted the ’844 patent’s “specification only

  describes sending an item status signal when the condition has changed” and “[a]s a matter of

  common sense, it is unclear why an item status signal indicating no change in the condition of a

  merchandise would then prompt a purchase request for the merchandise.” (Dkt. No. 235 at 17-18

  (emphasis added).) And this Court held that VIS’s proposed construction “runs contrary to the

  overwhelming thrust of the patent.” (Dkt. No. 139 at 31.) Advancing this unreasonable claim

  construction to prolong its infringement case against Dash Button should weigh in favor of an

  exceptional case determination, not against it.



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         Patent claims—in valid patents, at least—mark the boundaries of what the patentee in-

  vented and owns. One good indication of a baseless claim—an attempt to claim ownership of

  something a patentee did not invent—is when a plaintiff argues that the words in the claims of its

  own patent do not mean what they say. VIS took just such a position in this case, arguing that the

  claimed “item status signal” need not convey information about the status of an item. (Dkt. No.

  235 at 17.) The Court rejected VIS’s proposed construction as “aggressive” and “inappropriately

  broad” (Dkt. No. 139 at 30), and the Federal Circuit held that VIS’s position had “no merit.” (Dkt.

  No. 235 at 17.)

         VIS’s assertion that this Court adopted one of its five proposed constructions for the ’844

  patent’s claim terms is beside the point. (Opp. at 23.) To prove infringement, VIS had to show

  that the Dash Button met each and every claim limitation of at least one claim. See Laitram Corp.

  v. Rexnord, Inc., 939 F.2d 1533, 1535 (Fed. Cir. 1991) (“[T]he failure to meet a single limitation

  is sufficient to negate infringement of [a] claim.”). VIS lacked grounds to plausibly assert that the

  Dash Button satisfied the “item status signal” or “an updated condition of a merchandise” claim

  limitations, meaning it did not have a viable infringement claim. As another court found when

  awarding attorney fees under Section 285, “[t]his is not horseshoes”: a plaintiff’s good faith belief

  that the accused instrumentalities covered most but not all of the claimed limitations “is not good

  enough.” In re Bill of Lading Transmission & Processing Sys. Patent Litig., No. 2:10-cv-90, MDL

  Dkt. No. 1:09-md-2050, 2012 U.S. Dist. LEXIS 29020, at *31 n.4 (S.D. Ohio Mar. 6, 2012); see

  also Kinglite Holdings, Inc. v. Micro-Star Int’l Co., No. CV 14-03009 JVS (PJWx), 2016 U.S.

  Dist. LEXIS 113284, at *29-30 (C.D. Cal. June 23, 2016) (finding case exceptional because plain-

  tiff brought lawsuit where defendants’ products clearly “lacked at least one necessary component”

  of the claimed systems).




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          Finally, VIS asserts that Amazon “distorted the record” of the oral arguments before the

  Federal Circuit “to manufacture a basis to suggest that Innovation never had a legitimate theory of

  infringement.” (Opp. at 2.) But the record speaks for itself. Judge Moore stated at oral argument

  that VIS “articulated nothing at all that amounts to a legitimate theory of infringement,” and Judge

  Chen observed that “all the pressing of the [Dash] Button conveys is the desire for more of the

  product . . . so I guess I’m at a loss why it detects any ‘change in a condition.’” (Appeal Oral

  Argument Recording at 33:52-37:32, 38:20-38:54 ( http://oralarguments.cafc.uscourts.gov/de-
                                                            41T




  fault.aspx?fl=2018-1495.mp341T).) VIS’s infringement theory suffered from these fundamental

  defects when it filed its complaint in July 2016, and VIS did not agree to permanently withdraw

  its baseless infringement claims for the ’844 patent until more than three years later in November

  2019. (Dkt. Nos. 1, 248.) VIS’s unreasonable infringement theory, resting on its unsupportable

  constructions of “item status signal” and “updated condition of a merchandise,” meant that VIS

  lacked a plausible basis for asserting the ’844 patent against Amazon.

  III.    VIS’S PURSUIT OF ITS ’398 PATENT INFRINGEMENT CLAIMS AFTER
          CLAIM CONSTRUCTION ALSO MAKES THIS CASE EXCEPTIONAL

          VIS offers no valid justification for its continued prosecution of the ’398 patent claims

  based on theories that contravened the Court’s claim construction order. Specifically, the Court

  held that “[i]f the free will of the cell phone’s user can dictate the destiny of the multimedia content

  item, then it is no longer within the scope of the claims.” (Dkt. 139 at 14.) VIS had notice not just

  from the Court’s claim construction order, but also the Rule 11 letter Amazon sent to VIS after

  that order, and still pressed forward with an infringement theory that relied on the free will of the

  cell phone’s user. VIS’s opposition attempts to obscure the clear notice it received from the Rule

  11 letter by quoting from it selectively to omit its references to the Court’s ruling. VIS discussed

  the letter as follows:



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              As to the ‘398 patent, Amazon asserted that under this Court’s claim con-
              struction:

                  ... “the destination device must be established as the destination be-
                  fore the media content is received” at the user’s cell phone. Id. at 33.
                  VIS has disclosed no theory that is viable after the Court’s construc-
                  tion.

  (Opp. at 3-4 (no alterations made) (quoting Amazon’s Rule 11 letter).) Here is the entire quote

  as it appeared in the letter:

                  ’398 patent. VIS’s infringement theory for the ’398 patent re-
                  quires a user to choose to send content from his or her cell phone
                  to a destination device. The Court directly rejected this theory, ex-
                  plaining: “[i]f the free will of the cell phone’s user can dictate the
                  destiny of the multimedia content item, then it is no longer within
                  the scope of the claims.” Order at 14. Rather, “the destination de-
                  vice must be established as the destination before the media content
                  is received” at the user’s cell phone. Id. VIS has disclosed no theory
                  that is viable after the Court’s construction.

  (Dkt. 254-9 at 1 (emphasis added to omitted portion).)

          In its motion for summary judgment, VIS argued that “[m]uch like an orchestra is directed

  by a conductor, here the multimedia content is ‘directed’ to the TV by the user device.” (Dkt. No.

  158 at 10). The Court recognized at summary judgment that this description flouted its earlier

  ruling, as it “suggests that it is the user, not an external source, which directs the destiny of the

  multimedia content item.” (Dkt. No. 203 at 5.) VIS’s new counsel asserts that VIS “conducted its

  infringement strategy for the ’398 patent in good faith, strictly following the Court’s constructions

  of disputed terms, and precisely identifying how and where Amazon’s products infringe,” but that

  contention is not supported by the record. (Opp. at 22.)

          Similarly, the Court construed “multimedia content item” to mean “the multimedia content

  in the format received by the wireless terminal device from the source.” (Dkt. 139 at 22.) Thus,

  under the Court’s construction, the multimedia content item received by the wireless terminal




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  device (i.e., a mobile phone) from the outside source must be in the same format as the multimedia

  content item received by the destination device (i.e., the display). (Dkt. No. 203 at 4.) VIS inex-

  plicably argued that the multimedia content item received from the outside source could be in a

  different format—and could be a different multimedia content item entirely—than that sent by the

  Fire TV to the display so long as both items were encoded using the H.264 compression algorithm.

  (Opp. at 21-22.) VIS argues that it reasonably interpreted the term “format,” which the Court did

  not construe, in advancing its infringement position. (Id. at 21-22.) But VIS’s own expert made

  clear that “format” did not refer to compression algorithms. (Dkt. No. 152-1, Ex. E at 154 (“



                                                      ”).) VIS identifies no portion of the Court’s claim

  construction order or the specification that suggests the content item received from the outside

  source can be a different multimedia content item than what is transmitted to the display device.

          VIS also remains obstinate in its mischaracterization of how the Miracast protocol works.

  (Opp. at 21.) VIS asserts that the phone retains a copy of the received compressed signal in H.264

  or AAC/AACL format and sends a copy over Miracast. (Id.) As the Court well knows, that asser-

  tion is incorrect. Instead, the content transmitted by Miracast is created anew on the cell phone

  based solely on the display of the cell phone screen and in a format dictated by the cell phone.

  (Dkt. No. 151 at 17-18; Dkt. No. 152-2, Ex. H at ¶¶ 80-81.) If VIS had conducted a reasonable

  pre-suit investigation, it would have discovered that the accused Miracast system—detailed in

  public standard specifications—generates an entirely new video on the user’s cell phone and there-

  fore could not possibly meet this claim requirement. (See Dkt. No. 151 at 17-18; Dkt. No. 203 at

  6-7.) For it to perpetuate its mischaracterization of Miracast in opposing Amazon’s fee requests

  reflects VIS’s failure to litigate in good faith.




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         For both limitations “destined for a destination device” and “in the same format,” the only

  way VIS could possibly allege infringement of the ’398 patent was to disregard the Court’s con-

  structions. This renders the case exceptional. See AdjustaCam, LLC v. Newegg, Inc., 861 F.3d

  1353, 1360 (Fed. Cir. 2017) (finding case exceptional because while plaintiff “may have filed a

  weak infringement lawsuit, . . . [its] suit became baseless after the district court’s Markman or-

  der”); Intex Recreation Corp. v. Team Worldwide Corp., 77 F. Supp. 3d 212, 217 (D.D.C. 2015)

  (awarding fees because the court’s claim construction “foreclosed any reasonable argument” that

  the accused product infringed).

         Unable to reconcile its infringement positions at summary judgment with the Court’s con-

  structions, VIS instead devotes considerable argument discussing to why it thinks its original claim

  construction positions for the ’398 patent were reasonable. (See Opp. at 19-20.) If VIS truly be-

  lieved its rejected claim construction positions were reasonable, it could and should have stipulated

  to non-infringement and immediately appealed the constructions it believed to be erroneous. In-

  stead, it cross-moved for summary judgment (Dkt. 157), placing considerable additional burden

  on the Court and Amazon.

         Moreover, VIS’s arguments in favor of its claim construction positions lack merit. VIS

  claims its constructions were reasonable because they were the same constructions that Judge Da-

  vis adopted when VIS “successfully asserted the ‘398 patent in prior litigation” against Samsung.

  (Opp. at 19.) First, VIS did not “successfully” assert the ’398 patent in either of its two actions

  against Samsung. To the contrary, Judge Davis granted summary judgment of invalidity for the

  ’398 patent claims asserted by VIS against Samsung in the first action. Va. Innovation Scis., Inc.

  v. Samsung Elecs. Co., 983 F. Supp. 2d 713, 745 (E.D. Va. 2014), vacated on other grounds, 614

  F. App’x 503 (Fed. Cir. 2015). And Judge Davis granted summary judgment of non-infringement




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  of the ’398 patent for Samsung’s products accused in the second action. See Va. Innovation Scis.,

  Inc. v. Samsung Elecs. Co., No. 2:13cv332, 2014 WL 1685932, at *5-9 (E.D. Va. Apr. 11, 2014),

  vacated on other grounds, 614 F. App’x 503 (Fed. Cir. 2015). VIS did not appeal these rulings on

  the ’398 patent. Va. Innovation Scis., Inc. v. Samsung Elecs. Co., 614 F. App’x 503, 505 n.1 (Fed.

  Cir. 2015). And the PTAB instituted IPRs on several ’398 patent claims, prompting VIS to file

  requests for adverse judgment that cancelled these claims. See Reply Declaration of Saina S.

  Shailov in Support of Amazon’s Renewed Motion for Reasonable Attorney Fees (“Shamilov Reply

  Decl.”), Ex. 7 (Samsung Elecs. Co. v. Va. Innovation Scis., Inc., IPR2013-00571 (Paper 24).) Sam-

  sung’s agreement to a broader settlement covering multiple VIS patents, despite having achieved

  a total victory against VIS’s ’398 patent infringement claims, does not justify VIS’s assertion of

  the ’398 patent against Amazon in this case.

         Second, VIS also incorrectly asserts that Judge Davis construed “the very terms Innovation

  had won on in the earlier Samsung litigation.” (Opp. at 20.) The Samsung court construed the

  term “multimedia content item . . . destined for a destination device.” Va. Innovation Scis., Inc. v.

  Samsung Elecs. Co., 976 F. Supp. 2d 794, 823 (E.D. Va. 2013), vacated on other grounds, 614 F.

  App’x 503 (Fed. Cir. 2015). But as this Court explained in its claim construction order, the Sam-

  sung court construed “a slightly different term” from a different asserted claim than the disputed

  term here: “destined for a destination device located within the home location.” (Dkt. No. 139 at

  9, 13.) And VIS does not challenge the Court’s analysis of the intrinsic record establishing that

  the patent requires “that the destination device is determined before the media content is received

  by the mobile terminal device.” (Dkt. 139 at 11-12 (emphasis added).) Indeed, the Court rooted

  its construction in common sense: “It is impossible to recognize something that does not yet exist.

  Therefore, the term ‘destined’ must have some temporal significance in this context.” (Id. at 12.)




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         Similarly, VIS ignores the Court’s citation to the construction advanced by VIS itself in

  inter partes proceedings, where it proposed construing the term “multimedia content item” as “the

  multimedia content in the format received by the wireless terminal device from the source.” (Id.

  at 21 (citing Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1361 (Fed. Cir. 2017).) VIS knew

  its claim construction position that there is no limitation on the term “multimedia content item”

  was incorrect. VIS itself had argued a contrary position before the Patent Office. (Id.) Thus,

  VIS’s litigation conduct for the ’398 patent, both in advancing unreasonable constructions and

  maintaining its infringement claims after they were effectively killed by the Court’s claim con-

  struction order, renders this case exceptional.

  IV.    VIS ASSERTED THE ’140 PATENT AND ’492 PATENT FAMILY EVEN
         THOUGH THOSE PATENTS WERE INVALID UNDER 35 U.S.C. § 101

         VIS’s assertion of nine ineligible patents also supports an exceptional case determination

  and fee award, and VIS’s arguments in opposition confirm rather than undermine this conclusion.

  VIS argues that it did not even have to consider the eligibility of its patents under Alice before

  bringing suit, but instead could simply rely on a “presumption of validity.” (Opp. at 10.) VIS’s

  choice to rely on an initial legal presumption at the fee motion stage, rather than on the actual facts

  and circumstances of the case, is itself telling. Moreover, VIS’s reliance is flawed: the Federal

  Circuit has never treated the presumption of validity as giving patentees a “free pass” to assert

  ineligible patents without risk of an adverse fee award. When analyzing whether a case is excep-

  tional under Section 285, a court asks whether the patentee’s position was foreclosed or weak

  under the governing law. See, e.g., Inventor Holdings, LLC v. Bed Bath & Beyond, Inc., 876 F.3d

  1372, 1379-80 (Fed. Cir. 2017); Shipping & Transit, LLC v. Hall Enters., No. 16-06535-AG-AFM,

  2017 U.S. Dist. LEXIS 109122, at *19 (C.D. Cal. July 5, 2017). A plaintiff has a responsibility to

  assess its case in view of controlling law and to re-assess when the law changes, and therefore



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  cannot simply rely on a “presumption” that its patent claims are eligible. Inventor Holdings, 876

  F.3d at 1379.

         The examiner’s allowance of some claims after Alice is not a get out of jail free card for

  VIS. Nor do the cases VIS cites support that assertion. (See Opp. at 14-15.) In Garfum.com Corp.

  v. Reflections by Ruth, No. 14-5919, 2016 WL 7325467, *4 (D.N.J. Dec. 16, 2016), the Patent

  Office allowed claims after the patentee provided the examiner with the district court briefing on

  the § 101 motion to dismiss. In Dietgoal Innovations LLC v. Chipotle Mexican Grill, Inc., No.

  2:12-cv-764, 2015 WL 1284826, at *2 (E.D. Tex. Mar. 20, 2015), the district court specifically

  noted that the patentee, unlike VIS here, did not have the benefit of the Supreme Court’s guidance

  in Alice. Finally, in In re Protegrity Corp., No. 3:15-md-02600-JD, 2017 U.S. Dist. LEXIS 27300,

  at *20 (N.D. Cal. Feb. 27, 2017), the district court merely held that the Alice decision alone pro-

  vided insufficient guidance to resolve definitively the eligibility question in that case. It did not

  suggest that the examiner’s allowance of claims, without more, makes a patentee’s litigating posi-

  tion reasonable or removes the possibility of a fee award for asserting a facially invalid patent.

         VIS’s choice to prosecute its ’140 patent infringement claims is especially egregious. VIS

  trumpets the fact that the Court denied Amazon’s motion to dismiss for this patent. (Opp. at 16.)

  But it survived that motion only after identifying “switching” as the key concept that rendered the

  ’140 patent inventive, thus persuading the Court to defer ruling. (See Dkt. 76 at 3, 8-9, 18, 20, 22-

  23.) VIS’s argument was not in good faith and only delayed the inevitable. The ’140 patent dis-

  closes no means of performing the switching, as VIS’s witnesses including Ms. Wang made per-

  fectly clear during their depositions. (Dkt. 255-6 (A. Wang Dep. Tr.) at 209:3-8; 210:3-13; Dkt.

  203 at 12.) Moreover, in its claim construction order, the Court noted “the lack of detail concerning

  the term ‘switched’,” and could not construe the term consistent with VIS’s repeated




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  representations about switching during prosecution because to do so would “leave[] the meaning

  of the ‘switching’ even more unclear than before.” (Dkt. 139 at 46.) VIS ignored these sign posts,

  and its continued pursuit of its ’140 patent infringement claims through summary judgment sup-

  ports finding this case exceptional.

            VIS also mischaracterizes the ’140 patented invention and what it argued in defense of

  patent eligibility. (Opp. at 16.) VIS now asserts that it “never argued that it had invented a new

  way of switching from one computer (the merchant’s computer) to another (the payment com-

  puter)” and “[w]hile a ‘switch’ from one server to the other is involved, Innovation’s invention

  was the network architecture – two separate communication channels.” (Id.) False. In its oppo-

  sition to Amazon’s motion to dismiss, VIS described the invention as a “novel switching proce-

  dure” and argued that “[t]he solution set forth in the claims of the ’140 patent includes a switch in

  communication channels having different security characteristics.” (Dkt. No. 76 at 20 (emphasis

  added).) In its opposition to Amazon’s summary judgment motion, VIS argued that “[t]he fact that

  the buyer is switched, distinguishes the claims from the prior art cited by the USPTO, namely U.S.

  Patent No. 5,822,737 (‘Ogram’)” and further identified switching as the ’140 patent’s “inventive

  concept.” (Dkt. No. 169 at 17, 26.) VIS also proffered this same argument on appeal. (See Dkt.

  No. 235 at 6 (“[VIS] argues that by switching the online communication between the buyer and

  merchant to a secure communication channel for transmission of payment information, the inven-

  tion implements a new technological solution.”).) Through appeal, VIS argued the ’140 patented

  invention was about “switching,” even though it could never identify how it accomplished this

  switch.

            The Federal Circuit’s opinion DDR Holdings, LLC v. Hotels.com, 773 F.3d 1245 (Fed. Cir.

  2014) fails to, as VIS contends, justify its unreasonable assertion of the ’140 patent and ’492 patent




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  family. (Opp. at 12-14.) DDR Holdings stressed “that not all claims purporting to address Internet-

  centric challenges are eligible for a patent.” 773 F.3d at 1258. And it held that the claimed system

  was patent-eligible only after finding that the patent “recite[d] a specific way to automate the cre-

  ation of a composite web page by an ‘outsource provider’” which included “‘additional features’

  that ensured” the claims would not preempt the abstract idea of making two web pages look the

  same. Id. at 1258-59 (emphasis added). By contrast, as this Court and the Federal Circuit found,

  the claims of the’140 patent and ’492 patent family lack any such details or features. The Federal

  Circuit held in affirming this Court’s invalidation of the ’140 patent:

             The invention does not purport to improve the payment server or the server
             on which the item for purchase is listed. Instead, it simply claims the idea
             of switching to a more secure server for payment processing. Neither the
             claims nor the specification recite any specific way to carry out such a
             switch. . . . The claim seeks to capture the broad concept of switching to a
             more secure server, rather than a specific way to do so.

  (Dkt. No. 235 at 7-8 (emphasis added).) Similarly, the Court held that the ’492 patent family

  claimed unpatentable subject matter because the claims lacked an innovative concept, were purely

  functional in nature, and improperly threatened a “sweeping universe of preemption.” (Dkt. 57 at

  16, 32.) The Federal Circuit affirmed this Court’s ruling under Rule 36, meaning the panel unan-

  imously determined that VIS raised no issues on appeal that merited a written opinion of any type.

  See Federal Circuit Internal Operating Procedures Nos. 10.4 & 10.6. VIS’s position for the ’492

  patent family was unreasonable as well.

         VIS cannot rely on the “evolving” state of Section 101 law to justify its position with re-

  spect to either the ’140 patent or the ’492 patent family. (Opp. at 10-11.) This is, in fact, an

  admission that its claims were baseless. VIS did not concede ineligibility and argue for a change

  in law. It argued that its patents were valid under Section 101 law as it exists under Alice, and

  made Amazon litigate that issue through summary judgment for the ’140 patent. VIS’s argument



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  amounts to the suggestion that it is reasonable for a patentee to assert a facially invalid patent and

  simply hope the law will change in its favor, without presenting the district court with a coherent

  good-faith argument for it. That cannot be the case.

         VIS also argues that “the state of the law with respect to the question of ‘usefulness’ under

  Section 101 has been in a state of flux for at least the past decade or more,” but this is a non-

  sequitur. (Opp. at 10.) The ’140 patent and the ’492 patent family suffer from a fundamental

  defect separate from “usefulness”: they lack inventive concepts sufficient to transform abstract

  ideas into patentable inventions.1 This has been an essential requirement since Mayo Collabora-

  tive Services v. Prometheus Laboratories, Inc., 566 U.S. 66 (2012) and Alice Corp. Pty. Ltd. v. CLS

  Bank Int’l, 573 U.S. 208 (2014).2

         Finally, VIS argues that Amazon waived its right to seek its attorney fees for the ’492 patent

  family. (Opp. at 17.) VIS is correct that a Rule 54(b) partial judgment starts the clock for a fee

  motion on the adjudicated claims. Precedent also holds, however, that “a case should be viewed

  as an ‘inclusive whole’ rather than as a piecemeal process when analyzing fee-shifting under §

  285,” and the Court may “award[] fees for the entire case, including any subsequent appeals.”

  Therasense, Inc. v. Becton, Dickinson & Co., 745 F.3d 513, 517 (Fed. Cir. 2014). Here, the clerk

  also separately entered a Rule 58 judgment in favor of Amazon. Amazon timely filed its initial

  fees motion after this final judgment. (Dkt. Nos. 206, 214). And under the Court’s May 15, 2018



     1
         VIS also cites Athena Diagnostics, Inc. v. Mayo Collaborative Services, LLC, 927 F.3d 1333
  (Fed. Cir. 2019) (en banc) to support its assertion that “the Federal Circuit nearly begged the Su-
  preme Court to take the issue up again to clarify its prior decisions regarding Section 101.” (Opp.
  at 11.) But the concurring opinions in Athena request Supreme Court clarification on patent eligi-
  bility for medical diagnostics patents, not computer-related patents. 927 F.3d at 1335-52.
       2
         Even if a predecessor application to the application that issued as the ’140 patent overcame a
  Section 101 rejection, that is irrelevant. (Opp. at 15-16.) The 2009 and 2010 Office actions not
  only predate Mayo and Alice, but were for a different patent.


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  order, Amazon timely filed the instant renewed motion, as well. (Dkt. Nos. 234, 249, 253.) Neither

  case cited by VIS in support of its position (Opp. at 17), IPXL Holdings, LLC v. Amazon.com, Inc.,

  430 F.3d 1377 (Fed. Cir. 2005) and Hamilton Beach Brands, Inc. v. Sunbeams Products, Inc., No.

  3:11-cv-345, 2012 WL 5473752 (E.D. Va. Nov. 9, 2012), addresses the situation here where mul-

  tiple judgments issued over the course of “the entire case.” Therasense, 745 F.3d at 517. However,

  if the Court holds that the February 9, 2017 Rule 54(b) partial judgment as to the ’492 patent family

  precluded Amazon from seeking recovery of its related fees after the later Rule 58 judgment in

  favor of Amazon on all claims, it should deduct fees incurred at the district court on the ’492 patent

  family in the amount of $             . (Shamilov Reply Decl., ¶ 4.)

           The Court should not find any appellate fees waived. This is because “Rule 54 can only

  refer to a judgment entered by the district court and not a judgment or mandate of the court of

  appeals” and “does not apply to a motion for fees on appeal brought in the district court.” Zoro-

  astrian Ctr. & Darb-E-Mehr of Metro. Wash., D.C. v. Rustam Guiv Found., 245 F. Supp. 3d 742,

  750-54 (E.D. Va. 2017). Thus, it would not prevent the Court from awarding Amazon’s reasonable

  attorney fees for the ’492 patent family appeal. Because the Federal Circuit’s mandate issued in

  June 2018, after the Court’s order granting Amazon leave to refile its fees motion “after the appeals

  are resolved,” there should be no dispute over compliance with Rule 54(d) for Amazon’s attorney

  fees connected to the first appeal.

           Thus, VIS’s litigation assertion of nine ineligible patents—and especially VIS’s continued

  assertion of the ’140 patent in light of its acknowledged failure to explain how the patent’s alleged

  inventive concept “switching” was achieved—supports an exceptional case determination and fee

  award.




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  V.     VIS’S ADDITIONAL VEXATIOUS LAWSUITS AGAINST AMAZON SUPPORT A
         FINDING THAT THIS CASE IS EXCEPTIONAL

         VIS’s opposition tells a tall tale about the nature of its business, the scope of its patent

  portfolio, and its conduct in other litigations, underscoring the point that “considerations of com-

  pensation and deterrence” support a finding that this case is exceptional. Octane Fitness, 572 U.S.

  at 554 n.6.

         VIS claims that its “work” in “signal conversion” and “video technology” predates Ama-

  zon’s introduction of the accused Fire TV products. (Opp. at 6.) The only “work” VIS has ever

  performed in this field is drafting patent applications and filing lawsuits. Ms. Wang, a named

  inventor on the patents-in-suit, operated VIS

                          . Va. Innovation Scis., Inc. v. Samsung Elecs. Co., 928 F. Supp. 2d 863,

  869-70 (E.D. Va. 2013); (Dkt. 255-6 (A. Wang Dep. Tr.) at 8:9-22, 32:20-35:18).) In Ms. Wang’s

  2014 deposition in the Samsung case, she testified

                                                                                      . (Id. at 23:11-

  32:19). Although she testified differently at her deposition in this case,

                                                  . (Id.)

         VIS’s assertion that it holds a “diverse patent portfolio” is also deceptive. (Opp. at 7.)

  VIS’s patents claim four core ideas. The first idea, which through a series of continuation and

  reissue applications led to the ’140 patent, relates to securely processing credit card payments for

  online purchases by switching the user from a merchant server to a payment server. As this Court

  recognized, this idea lacks “any new improved technology for achieving the result” and merely

  covers “a series of conventional steps performed in any online transaction.” (Dkt. No. 203 at 10-

  11). The second idea is a “conversion module” (“MTSCM”) that converts signals over wireless

  networks for use or display on devices. This idea is claimed in the ’492 patent family (which the



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  Court held to be unpatentable) and the ’398 patent (which the Court held the Fire TV did not

  practice). The third idea involves a diaper monitoring controller (“DCSM”) that receives a signal

  from a transmitter in a baby’s diaper. And the fourth idea involves providing secure payment using

  wireless communications to a local “wireless HUB,” which then communicates with a remote

  server. The “diversity” of VIS’s patent portfolio lies in filing continuation applications that re-

  combine these ideas in an attempt to get them to read on products already in the market. For

  example, Ms. Wang merged the third and fourth ideas above for the ’844 patent to read on the

  Dash Button, although as the Court noted, “there is no description of this combined device in the

  specifications, [and] it is nearly impossible to tell how it would work.” (Dkt. No. 139 at 28.)

         VIS should have learned its lesson from its defeat in this case. Instead, it merely changed

  venue hoping for more success elsewhere. VIS filed a new lawsuit against Amazon in Texas as-

  serting four patents that cover the same core ideas described above and, in fact, are continuation

  or continuation-in-part patents from patents asserted here. (Dkt. No. 254-8.) U.S. Patent Nos.

  9,942,798, 9,912,983, and 9,729,918, asserted in Texas, share the same specifications and claim

  priority to the same patent applications that issued as the ’492 patent family and the ’398 patent.

  (Dkt. No. 257-1, ¶¶ 29-30.) The fourth patent asserted in that lawsuit, U.S. Patent No. 9,723,443

  is a continuation of the ’844 patent, and shares the same title, inventors, and specification. (Id.)

  These new patents cover the same non-inventive concepts.

         VIS also mischaracterizes the Texas lawsuit as different from this action because Amazon’s

  smart home product “developments trailed Innovation’s work in that area.” (Opp. at 7.) As dis-

  cussed, VIS has never done any “work” in any area other than filing patent applications and law-

  suits, much less developing smart home technology. In Texas, VIS asserts new continuation pa-

  tents that combine the same signal converter (“MTSCM”) and diaper monitor (“DCSM”) that the




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  Court analyzed in this case in an attempt to capture Amazon products. The accused devices in

  Texas include the Fire TV, Fire Tablets, and Dash Button, all of which VIS accused here, and all

  of which were on the market years before these new patents were filed in 2017. If VIS was, in

  fact, an innovator developing actual products and technologies, it would not have removed “Vir-

  ginia” from its name and moved to Texas to avoid this Court and bring another lawsuit against

  Amazon. (See Mot. at 16-17.)

         Calling out VIS’s unethical forum shopping is also not, as VIS argues, a “collateral attack”

  on Judge Mazzant or otherwise “improper.” (Opp. at 26.) The facts speak for themselves: (i) VIS

  filed and then dismissed a second lawsuit against Amazon in this district asserting two of the same

  patents and accusing several of the same products as in this case (Mot. at 16; Opp. at 25); (ii) VIS

  sued Amazon and three other companies in the Eastern District of Texas in July 2018 when VIS

  was still located in Virginia. (Dkt. No. 254-8); (iii) Amazon moved to transfer the Texas case to

  this Court in October 2018 (Shamilov Reply Decl, ¶ 3); (iv) VIS requested and received five ex-

  tensions of its deadline to oppose, representing this was necessary because it needed to retain new

  counsel (Id.); (v) During that time, without telling Amazon, Ms. Wang formed “Innovation Sci-

  ences, LLC,” a Texas limited liability company, and merged Virginia Innovation Sciences, Inc.

  into it (Dkt. No. 254-13); (vi) VIS moved to substitute parties because it “merged into Innovation

  and no longer exists” (Dkt. 254-10 at 1-2); (vii) In December 2018, VIS finally responded to Am-

  azon’s motion to transfer, arguing that transfer was improper based on its relocation to Texas,

  which it claimed occurred solely because of Texas’ “favorable tax environment.” (Dkt. 254-11 at

  3). Presented with these facts, Judge Mazzant ruled that Amazon had not established that Virginia

  was a clearly more convenient forum under Section 1404. This Court is entitled to arrive at its




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  own conclusions about VIS’s conduct in deciding the wholly different issue of whether to award

  fees.

           Finally, VIS does not dispute that it does not pay its own litigation costs, refused to pay

  certain of its former counsel and experts from past litigation, and generally relies on contingency

  fee counsel to prosecute its baseless claims. (See Mot. at 17.) Thus, along with compensating

  Amazon from VIS’s exceptionally weak patent infringement claims, an award imposing real costs

  on VIS and its successor Innovation Sciences is necessary to deter more of this misconduct, which

  will otherwise continue unabated. See Octane Fitness, Inc., 572 U.S. at 554 n.6; Rothschild Con-

  nected Devices Innovations, LLC v. Guardian Prot. Servs., Inc., 858 F.3d 1383, 1389-90 (Fed. Cir.

  2017) (vacating holding that case was not exceptional because district court failed to consider

  plaintiff’s other vexatious lawsuits).

  VI.      CONCLUSION

           For these reasons, Amazon respectfully requests that the Court award Amazon all of its

  incurred fees, or at a minimum the fees it incurred after the Court issued the claim construction

  order.




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   January 13, 2020                         Respectfully submitted,

   Of counsel:                              AMAZON.COM, INC.
   J. David Hadden*
   dhadden@fenwick.com
   Saina Shamilov*                          /s/ Laura Anne Kuykendall
   sshamilov@fenwick.com
   Todd Gregorian*                          Robert A. Angle (VSB No. 37691)
   tgregorian@fenwick.com                     robert.angle@troutmansanders.com
   Jeffrey Ware*                            Laura Anne Kuykendall (VSB No. 82318)
   jware@fenwick.com                          la.kuykendall@troutmansanders.com
   Ravi Ranganath*                          TROUTMAN SANDERS LLP
   rranganath@fenwick.com                   1001 Haxall Point
   Dargaye Churnet*                         Richmond, Virginia 23219
   dargayec@fenwick.com                     Telephone: (804) 697-1246
   Jessica Kaempf*                          Facsimile: (804) 697-1339
   jkaempf@fenwick.com
   Sapna Mehta*                             Mary Catherine Zinsner (VSB No. 31397)
   sapnam@fenwick.com                         mary.zinsner@troutmansanders.com
   FENWICK & WEST LLP                       TROUTMAN SANDERS LLP
   Silicon Valley Center                    1850 Towers Crescent Plaza, Suite 500
   801 California Street                    Tysons Corner, Virginia 22182
   Mountain View, CA 94041                  Telephone: (703) 734-4363
   Telephone: (650) 988-8500                Facsimile: (703) 734-4340
   Facsimile: (650) 938-5200
   *Admitted Pro Hac Vice




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